                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                         NORTHERN DIVISION
 In the Matter of:

 CAROLE A COLBY                                                    Case No: 16-20101-dob
                                                                   CHAPTER 13
                             Debtor                                Judge: DANIEL S OPPERMAN



                           TRUSTEE’S NOTICE PURSUANT TO LBR 3001-2

    Let all interested parties take notice that the Trustee was servied with notice by Ocwen Loan Servicing LLC,
a creditor with a filed §1322(b)(5) or (b)(7) proof of claim, of a change in the periodic payments due to this
creditor.

Pursuant to Eastern District of Michigan Local Bankruptcy Rule 3001-2 the Chapter 13 Trustee gives the
following notice:

The current mortgage payment change effective June 30, 2017 does not maintain plan feasibility




Dated: June 10, 2017                                      /s/Thomas W. McDonald, Jr.
                                                          Thomas W. McDonald, Jr.
                                                          Chapter 13 Trustee Office
                                                          3144 Davenport Ave.
                                                          Saginaw, MI 48602
                                                          Telephone (989) 792-6766
                                                          ecf@mcdonald13.org




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                        UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN-NORTHERN DIVISION


In the Matter of:                                                 Case No: 16-20101-dob
                                                                  CHAPTER 13
CAROLE A COLBY                                                    Judge: DANIEL S OPPERMAN

                           Debtor


                                TRUSTEE’S CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2017, I electronically filed the Chapter 13 Trustee's Notice pursuant to
LBR 3001-2(c) ith the Clerk of the Court using the ECF system :




                                                        /s/ Shirley Barber
                                                        Shirley Barber
                                                        Office of Thomas W. McDonald, Jr.
                                                        Chapter 13 Trustee
                                                        3144 Davenport Avenue
                                                        Saginaw, MI 48602
                                                        Telephone: (989) 792-6766




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